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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,

                    Plaintiff,
                                            Case No. 2:19-cv-00291-JRG-RSP
   v.
                                                      LEAD CASE
   HOLOPHANE EUROPE LIMITED,
                                              JURY TRIAL DEMANDED
   ACUITY BRANDS LIGHTING DE
   MEXICO S DE RL DE CV,
   HOLOPHANE, S.A. DE C.V. and
   ARIZONA (TIANJIN) ELECTRONICS
   PRODUCTS TRADE CO. LTD.,

                    Defendant.

   ULTRAVISION TECHNOLOGIES, LLC,

                    Plaintiff,
                                            Case No. 2:19-cv-00398-JRG-RSP
   v.
                                                   MEMBER CASE
   YAHAM OPTOELECTRONICS CO., LTD.
                                              JURY TRIAL DEMANDED
                    Defendant.




   YAHAM OPTOELECTRONICS CO., LTD.’S REPLY IN SUPPORT OF ITS MOTION
     TO STRIKE PORTIONS OF THE EXPERT REPORTS OF ZANE COLEMAN
   AND STEPHEN E. DELL CONCERNING UNACCUSED PRODUCTS (DKT. NO. 123)
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  I.       INTRODUCTION

           In its opposition (Dkt. No. 149, “Opp’n”), Ultravision mistakenly claims that Yaham did

  not timely provide information regarding the Unaccused Products. 1 In fact, Yaham provided

  information—in English as far back as April 2020.                  Additionally, publicly available

  information—the kind on which Ultravision originally filed suit in this litigation—would have

  enabled Ultravision to accuse those products. Given the extent to which the Coleman and Dell

  Reports relied on publicly available information and discovery produced early on, it is unclear

  what additional information obtained in discovery could possibly be the basis accusing those

  products for the first time in the expert reports.

           Ultravision’s request that this Court forgive its failure to follow the Local Patent Rules and

  simply ignore its delay in alleging infringement against the Unaccused Products would serve to

  undermine the very purpose of those rules. To allow such untimely allegations of infringement

  would not serve judicial economy, but would instead incentivize parties to ignore the Local Patent

  Rules and sit on their allegations of infringement of newly accused products until the expert

  disclosure deadline.

           Tellingly, Ultravision never once addresses Semcon. This Court’s decision in that case

  counsels in favor of (i) striking the portions of the Expert Reports that reference the Unaccused

  Products, (ii) striking the portions of the Expert Reports that assert for the first time that one

  previously identified product infringes three asserted patents, and (iii) precluding Ultravision and

  its experts from introducing any such evidence, positions, arguments, or opinions regarding such

  matters at trial. Semcon IP Inc. v. ZTE Corp., No. 2:16-cv-00437-JRG-RSP, 2018 WL 4501808,




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      Defined terms have the meanings set forth in Yaham’s motion (Dkt. No. 123).


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  at *3 (E.D. Tex. Feb. 28, 2018) (Gilstrap, J.) (Payne, J.) (striking portions expert report referring

  to infringement of previously unaccused products).

  II.    ARGUMENT

         A.      There is No Genuine Dispute that Ultravision Failed to Provide Adequate
                 Notice to Yaham

         Ultravision does not dispute that it failed to allege infringement against the Unaccused

  Products prior to the Coleman and Dell Reports. Instead, Ultravision attempts to justify its failure

  to timely assert infringement against the Unaccused Products by claiming that Yaham did not

  timely provide sufficient information for Ultravision to timely amend its infringement contentions.

         Ultravision’s claim is baseless. Yaham provided English language specifications and

  technical documents relating to essentially all the Unaccused Products.2 As early as April 2020—

  six months before Ultravision served the Expert Reports—Yaham produced information relating

  to those products in English.3 Despite having discovery in its possession since as early as April

  2020, Ultravision never sought to amend its Infringement Contentions to identify any Unaccused

  Product. Further, the Coleman Report references these early-produced documents in alleging

  infringement against the Unaccused Products. See, e.g., Ex. 1-1 (Attachment A to Coleman

  Report) at 5-6 (citing YAHAM-LT-00016549 produced in April 2020); Ex. 1-2 (Attachment B to

  Coleman Report) at 8-10 (citing YAHAM-LT-00016557-YAHAM-LT-00016558, YAHAM-LT-

  00016560 produced in April 2020).




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    See, e.g., Ex. 3 (specification of Lumiway II, YHL-PO, bates number YAHAM-LT-00016453-
  YAHAM-LT-00016454, produced in April 2020); Ex. 4 (specification of SafeGuard YHL-ST6-
  60, bates number YAHAM-LT-00021105-YAHAM-LT-00021106, produced in April 2020); Ex.
  5 (specification of Lumiway I YHL-FL-120(MO), bates number YAHAM-LT-00055232,
  produced in April 2020); Ex. 6 (IES report of SafeGuard Floodlight YHL-FL5-60, bates number
  YAHAM-LT-00021187-YAHAM-LT-00021200, produced in April 2020).
  3
    See, e.g., id.


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         Ultravision does not dispute that details regarding the Unaccused Products were publicly

  available on Yaham’s website, but instead claims that they provided insufficient information for

  Ultravision to timely accuse any Unaccused Product. Leaving aside the fact that Yaham provided

  information in discovery as early as April 2020, it is not clear what additional information

  Ultravision would have needed to obtain in discovery to allege infringement. Ultravision itself

  believes that the Unaccused Products are similar to those Ultravision formally accused in its

  infringement contentions. Opp’n at 1-2. The Coleman Report and the claim charts served with it

  rely heavily on this publicly available information. See, e.g., Ex. 1 (Coleman Report) at 47.

  Ultravision’s claim that it needed additional information in discovery in order to timely accuse the

  Unaccused Products thus rings hollow. Judging from the Dell Report and the claim charts

  accompanying the Coleman Report, Ultravision already had everything it needed from publicly

  available sources. See, e.g., Ex. 1-1 (Attachment A to Coleman Report) at 2, 21-22; Ex. 2 (Dell

  Report) at 16-17; see also In Orion IP, LLC v. Staples, Inc., 407 F. Supp. 2d 815, 817 (E.D. Tex.

  2006) (“[w]hen information is publicly available, the Patent Rules require plaintiffs to set forth

  specific theories of infringement at the outset of the case”) (citing Am. Video Graphics, L.P. v.

  Elec. Arts, Inc., 359 F.Supp.2d 558, 560 (E.D.Tex.2005)).

         Ultravision argues that it had no ability to investigate Yaham’s products, but it never

  inspected any. Ultravision has not shown in its opposition that an inspection was required in order

  to allege infringement against the Unaccused Products. Further, Ultravision never represented to

  Yaham that it intended to accuse these products or that it could not accuse them without an

  inspection.




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         B.      The Alleged Importance of the Evidence Cannot Outweigh Prejudice to
                 Yaham

         Ultravision argues that granting Yaham’s motion would require it to file another action

  against Yaham and that, for reasons of judicial economy, the Unaccused Products should remain

  in the case. Opp’n at 12. Ultravision’s argument is at heart a request to set aside the Local Patent

  Rules. As Ultravision would have it, a patentee could simply withhold amendment until the expert

  disclosures deadline. This would, as it has for Yaham, (i) force a defendant to assess and prepare

  responses to new infringement allegations with precious little time, (ii) adversely impact the ability

  to raise issues during claim construction or present additional invalidity arguments, and (iii)

  eliminate the possibility for additional non-infringing alternatives arguments in damages analysis.

  Despite this obvious prejudice, Ultravision suggests Yaham has not been prejudiced simply

  because the Unaccused Products were addressed in Yaham’s rebuttal expert report. As should be

  clear, Yaham only did so blindsided, with no prior notice that these products were in the case.4

         Nor is it appropriate to suggest, as Ultravision does, that Yaham should have to identify

  how its claim construction arguments might have differed had it been provided adequate notice of

  Ultravision’s allegations against the Unaccused Products. Opp’n at 9. Ultravision did not provide

  adequate notice to Yaham of the allegations made for the very first time in the Coleman Report.

  Yaham need not telegraph to Ultravision how its claim construction positions might differ in order

  to demonstrate prejudice.

         No case allowing amendment cited by Ultravision presents similar facts as those here. In

  Stragent, the plaintiff sought amendment six months after serving its infringement contentions and


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    Ultravision’s reliance on In Orion IP, LLC v. Staples, Inc., 407 F. Supp. 2d 815, 817-18 (E.D.
  Tex. 2006) is untenable. Opp’n at 10. The Orion plaintiff accused the defendant’s website of
  infringement. The court finds sufficient notice to the defendant because “website is not a static
  object . . . it would be unrealistic to expect plaintiffs to provide screen shots for every possible
  manifestation of the alleged infringement.” This is far from analogous to the case here.


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  not, as here, in the form of theories first disclosed in an expert report. Stragent, LLC v. Freescale

  Semiconductor, Inc., No. 6:10-cv-224, 2011 WL 13227699, at *1 (E.D. Tex. July 14, 2011). The

  parties in Mediostream had engaged in discussions on amendment. Mediostream, Inc. v. Microsoft

  Corp., No. 2:08-cv-369, 2010 WL 4118589, at *3 (E.D. Tex. Oct. 18, 2010). Ultravision never

  raised the new allegations of infringement against Yaham prior to serving the Expert Reports. In

  Mass Engineered Design, the parties agreed on extensions of expert report and discovery

  deadlines. Mass Engineered Design, Inc. v. Ergotron, Inc., No. 2:06-cv-272, 2008 WL 1930299,

  at *4 (E.D. Tex. Apr. 30, 2008). Here, Ultravision only informed Yaham of its new theories of

  infringement with the service of the Expert Reports. Honeywell Int'l Inc. v. Acer Am. Corp., 655

  F. Supp. 2d 650, 657 (E.D. Tex. 2009) is likewise inapposite because it involves a motion to

  compel discovery.

         Notably, Ultravision fails to address Semcon. As the Court determined in Semcon, which

  was decided on strikingly similar facts, infringement contentions under the Local Patent Rules

  provide important boundaries and help determine the allegations at issue. Semcon, 2018 WL

  4501808 at *2. To allow Ultravision to accuse the Unaccused Products under the facts at issue

  would make those Patent Rules meaningless.

  III.   CONCLUSION

         For the foregoing reasons, Yaham respectfully requests that the Court strike the portions

  of the Expert Reports that reference the Unaccused Products, and that Ultravision and its experts

  be precluded from introducing any such evidence, positions, arguments, or opinions regarding the

  Unaccused Products at trial. The Court also should strike from the Expert Reports the assertions

  that the Unaccused Products infringe the ’410 Patent and preclude Ultravision and its experts from

  presenting any such evidence, positions, arguments, or opinions at trial.




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  Dated: December 22, 2020                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that on December 22, 2020, all counsel of record who are deemed

  to have consented to electronic service are being served with a copy of this document through the

  Court’s CM/ECF system under Local Rule CV-5(a)(3).
                                                  /s/ Jeffrey L. Johnson
                                                  Jeffrey L. Johnson




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